
43 N.Y.2d 943 (1978)
The People of the State of New York, Respondent,
v.
John J. Ranellucci, Appellant.
Court of Appeals of the State of New York.
Argued January 13, 1978.
Decided February 22, 1978.
Frank H. Penski for appellant.
Sol Greenberg, District Attorney (George H. Barber of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and COOKE.
Order reversed and the indictment dismissed on the dissenting opinions by Mr. Justice T. PAUL KANE and Mr. Justice J. CLARENCE HERLIHY at the Appellate Division (53 AD2d, at pp 385-386, 386-391).
